           Case 4:22-cv-00051-CDL Document 1-2 Filed 03/03/22 Page 1 of 24

, • ) CT Corporation                                                                                  Service of Process
                                                                                                      Transmittal
                                                                                                      02/03/2022
                                                                                                      CT Log Number 540997952
    TO:         KIM LUNDY- EMAIL
                Walmart Inc.
                GLOBAL GOVERNANCE/CENTRAL INTAKE, 2914 SE I STREET MS#0200
                BENTONVILLE, AR 72712-3148

    RE:         Process Served in Georgia

    FOR:        Wal-Mart Stores East, LP (Domestic State: DE)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                                 Re: FREEMAN EDWARD // To: Wal-Mart Stores East, LP
    DOCUMENT(S) SERVED:                              Letter, Attachment(s), Complaint, Summons, Notice(s), Motion, Affidavit, Order,
                                                     Certificate, Request, First Interrogatories, First Request
    COURT/AGENCY:                                    State Court of Muscogee County, GA
                                                     Case # 5C2022CV000080
    NATURE OF ACTION:                                Personal Injury - Slip/Trip and Fall - 01/26/2020, at 5448 Whittlesey Blvd, Ste B,
                                                     Columbus, Georgia 31909
    ON WHOM PROCESS WAS SERVED:                      The Corporation Company (FL), Cumming, GA
    DATE AND HOUR OF SERVICE:                        By Certified Mail on 02/03/2022 postmarked on 01/25/2022
    JURISDICTION SERVED:                             Georgia
    APPEARANCE OR ANSWER DUE:                        Within 30 days after service, exclusive of the day of service (Document(s) may
                                                     contain additional answer dates)
    ATTORNEY(S) / SENDER(S):                         David T. Dorer
                                                     Dozier Law Firm, LLC
                                                     487 Cherry Street
                                                     Macon, GA 31202
                                                     478-742-8441
    ACTION ITEMS:                                    CT has retained the current log, Retain Date: 02/03/2022, Expected Purge Date:
                                                     02/08/ 2022
                                                     Image SOP

    REGISTERED AGENT ADDRESS:                        The Corporation Company (FL)
                                                     106 Colony Park Drive
                                                     STE 800-B
                                                     Cumming, GA 30040
                                                     877-564-7529
                                                     MajorAccountTeam2@wolterskluwer.com
    The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
    relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
    of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
    advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
    therein.




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    Case 4:22-cv-00051-CDL
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                                                                                         01125/2022


                 USPS FIRST CLASS MAIL®
                 DOZIER LAW FIRM
                 C/O MARIAH COHEN
                 327 3RD ST
                 MACON GA 31201                                              C006
                 SHIP    Wal-Mart Stores East, LP
                 TO:
                         c/o The Corporation Company
                         106 Colony Park Dr, Ste. 800-B
                         Cumming GA 30040-2794




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                         9414 7116 9900 0511 9129 89


                            Civil Process Server                                                          ^
          Case 4:22-cv-00051-CDL Document 1-2 Filed 03/03/22 Page 3 of 24


Zack Dozier                                                                                                   • David Dozier
Jack Jenkins                                                                                                   Sam Hart, Jr.


                                                     OZIER
Sean Bewick                                                                                                  David T. Dorer
Dustin W. Hamilton                                                                                          James Kurhajian
Ashley Cameron-Bivins                                                                                         Travis Tuggle
Eric Alvarez (Lic. in Miaizd GA)                                                                           Lindsay Simmons
Rich Jenkins                                          LAW FIRM LLC                                              Micah J. East
Sean G. Hickey                                                                                            Savanna Roughenl
Col. George Phillips, M.D.



                                                     January 25, 2022

Via Certified Mail: 7020 1810 0001 8802 8253
RETURN RECEIPT REQUESTED
Wal=Mart: Stores East, LP
do The Corporation Company
106 Colony Park Dr, Ste 800-B
Cumming, GA 30040-2794

From the Office of David Thomas Dorer
Dozier Law Firm, LLC
327 Third Street
P.O. Box 13
Macon, Georgia 31202-0013
Direct Dial: 478-742-8441, ext. 116.
dorer@dozierlaw.com

          RE:        Edward Freeman v. Wal-Mart Stores East, LP, Muscogee County State Court
                     CAN: SC2022CV000080 Request for Acknowledgment and Waiver of Service of
                     Process

Dear Wal-Mart Stores East, LP:

       I represent Edward Freeman in the lawsuit that has been filed against you for your
negligent conduct on or about 1/26/2020.

        Enclosed is a request that you acknowledge and waive service of process. I am not your
attorney. I cannot provide you with legal advice on acknowledging and waiving service;
however, I can state that my client will seek the full penalties available in the event you refuse to
do so within thirty (30) days of the receipt of this letter.




        -487 CHERRY STREET, P.O. Box 13, MACON, GA 31202-00131(478) 742-84411 FAX (478) 745-9097
                401 MALL BOULEVARD, SUITE 103. SAVANNAH, GA 31406-48621(912) 239-4395 IFAX (912) 239-4401
                  235 W. ROOSEVELT AVENUE, SUITE 100, ALBANY, GA 31701-23741(229) 299-95901 FAX (229) 299-9610
                     1388 SOUTHLAKE PLAZA DRIVE, MORROW, GA 30260-1756 I (404) 800-03081 FAx (470) 533-0792
                                                       www.dozierlaw.com  •                                        Page 1 of 2
                   Case 4:22-cv-00051-CDL Document 1-2 Filed 03/03/22 Page 4 of 24




                                                          Sincerely,




                                                                  David Thomas Dorer
                                                                  Dozier Law Firm, LLC
                                                                  Trial Lawyer

               DTD/mc
               Enclosures: one (1) Case Initiation Form; one (1) Complaint for Damages; one (1) Summons;
          . one (1) Notice of Lawsuit; two (2) proposed Acknowledgment and Waiver of Service of Process;
----------------one-(1)-Leave-of-Absence;--one- (-1) 5 :2(-2) Certificate- of-Service. of-Discovery Requests-and
               Corresponding Requests; one (1) self-addressed, stamped envelope.




                                                                                                        Page 2 of 2
                Case 4:22-cv-00051-CDL Document 1-2 Filed 03/03/22 Page 5 of 24

                                                                                                                      EFILED IN OFFICE
                         General Civil and Domestic Relations Case Filing Information Form                        CLERK OF STATE COURT
                                                                                                                MUSCOGEE COUNTY, GEORGIA
                            LI Superior or 0 State Court of          Muscogee                   County          SC2022CV000080
                                                                                                                 JAN 25, 2022 12:39 PM
         For Clerk Use Only

         Date Filed    01-25-2022                                Case Number SC2022CV000080                                     Da ielle   on& Clerk
                                                                                                                            Muscogee Gou ity. Georgia
                           MM-DD-YYYY

Plaintiff(s)                                                        Defendant(s)
Freeman, Edward                                                     Wal-Mart Stores East,      LP
Last           First             Middle I.    Suffix    Prefix      Last            First           Middle I.     Suffix   Prefix


Last           First             Middle I.    Suffix    Prefix      Last            First           Middle 1.     Suffix   Prefix


Last           First             Middle I.    Suffix    Prefix      Last            First           Middle I.     Suffix   Prefix


Last           First             Middle I.    Suffix    Prefix      Last            First           Middle I.     Suffix   Prefix

Plaintiff's Attorney    Dorer,   David                               Bar Number      934408               Self-Represented 0

                             Check one case type and, if applicable, one sub -type in one box.

        General Civil Cases                                                Domestic Relations Cases
         LI      Automobile Tort                                           LI      Adoption
         O       Civil Appeal                                              LI      Contempt
         O       Contract                                                          0 Non-payment of child support,
         LI      Contempt/Modification/Other                                       medical support, or alimony
                 Post-Judgment                                             LI      Dissolution/Divorce/Separate
         O       Garnishment                                                       Maintenance/Alimony
         •       General Tort                                              LI      Family Violence Petition
         LI      Habeas Corpus                                             O       Modification
         O       Injunction/Mandamus/Other Writ                                    LI Custody/Parenting Time/Visitation
         •       Landlord/Tenant                                           O       Paternity/Legitimation
         LI      Medical Malpractice Tort                                  O       Support — IV-D
         •       Product Liability Tort                                    O       Support — Private (non-IV-D)
         O       Real Property                                             O       Other Domestic Relations
         O       Restraining Petition
         O       Other General Civil

LI      Check if the action is related to another action(s) pending or previously pending in this court involving some or all
        of the same parties, subject matter, or factual issues. If so, provide a case number for each.

                 Case Number                                      Case Number

0       I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
        redaction of personal or confidential information in 0.C.G.A. § 9-11-7.1.

LI       Is a foreign language or sign-language interpreter needed in this case? If sq,.provide the language(s) required.

                                             Language(s) Required

LI      Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                            Version 1.1.20
       Case 4:22-cv-00051-CDL Document 1-2 Filed 03/03/22 Page 6 of 24

                                                                                         EFILED IN OFFICE
                                                                                     CLERK OF STATE COURT
                                                                                   MUSCOGEE COUNTY, GEORGIA
                                                                                   SC2022CV000080
                     IN THE STATE COURT OF MUSCOGEE COUNTY
                                                                                     JAN 25, 2022 12:39 PM
                                  STATE OF GEORGIA

EDWARD FREEMAN,                                                                                       ai1eHe F. Forte. Clerk
                                                                                                 Muscogee County. Georgia



       Plaintiff,

VS.
                                                    CIVIL ACTION NO:
WAL-MART STORES EAST, LP,

       Defendants.

                               COMPLAINT FOR DAMAGES

       COMES NOW, Edward Freeman, plaintiff in the above-captioned case, by and through

undersigned counsel of record and files this Complaint for Damages and respectfully shows this

Honorable Court as follows:

                               VENUE AND JURISDICTION

                                               1.

       The defendant Wal-mart Stores East, LP is a foreign for-profit limited who's registered

agent resides in Forsyth County, Georgia. As such, Defendant Wal-mart Stores East, LP is

subject to the venue of Forsyth County, Georgia pursuant to 0.C.G.A. § 14-2-510(b)(1).

                                               2.

       The occurrence which gives rise to this Complaint for Damages occurred in Muscogee

County Georgia. As such, Defendant Wal-mart Stores East, LP is subject to the venue of

Muscogee County, Georgia pursuant to 0.C.G.A. § 14-2-510(b)(3).

                                               3.

       The defendant Wal-mart Stores East, LP is subject to the jurisdiction of this Honorable



                                                                                       Page 1 of 5
       Case 4:22-cv-00051-CDL Document 1-2 Filed 03/03/22 Page 7 of 24




Court. See: 0.C.G.A. § 9-10-91(2); International Shoe Co. v. Washington, 326 U.S. 310 (1945).

                                                4.

       This venue is proper as to the defendant Wal-mart Stores East, LP.

                     GENERAL FACTS COMMON TO ALL COUNTS

                                                5.

      Plaintiff hereby incorporates all previous paragraphs of this Complaint for Damages.

                                       THE PREMISES

                                                6.

       Defendant Wal-mart Stores East, LP owns and/or operates a superstore located at 5448

Whittlesey Blvd, Ste B, Columbus, Georgia 31909 (hereinafter, "premises").

                                                7.

       The aforementioned premises is open to the public for business.

                                                8.

       On or about January 26, 2020 Wal-mart Stores East, LP, by express or implied invitation,

induced or lead the Plaintiff to come upon the aforementioned premises for a lawful purpose.

                                                9.

       On or about January 26, 2020 Plaintiff was an invitee on the premises owned and

operated by the defendant Wal-mart Stores East, LP

                           CONDITIONS LEADING TO INJURY

                                               10.

       While on the premises as an invitee, Plaintiff slipped on a foreign object on the ground.




                                                                                        Page 2 of 5
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                                                 11.

        At all times relevant to this Complaint for Damages, there were no signs and/or warnings

to put plaintiff on notice of a potentially dangerous hazard.

                                   INJURIES AND DAMAGES

                                                 12.

        The aforementioned circumstances pled in this Complaint for Damages resulted in

serious injuries to plaintiff's body.

                                                 13.

        As a foreseeable and proximate result of Plaintiff's injuries, the Plaintiff has incurred

medical expenses in excess of $12,577.97 and lost wages in excess of $ 1.00.

                                                 14.

        In addition to the aforementioned damages, Plaintiff has and will endure pain and

suffering.

       COUNT I: PREMISES LIABILITY AS TO WAL-MART STORES EAST, LP

                                                 15.

        Plaintiff hereby incorporates all previous paragraphs of this Complaint for Damages.

                                                  16

        Defendant Wal-mart Stores East, LP has and had a duty to exercise ordinary care in

keeping the aforementioned store and its approaches safe.

                                                 17.

        Defendant Wal-mart Stores East, LP, breached the aforementioned duty on January 26,

2020 by failing to use ordinary care in preventing hazardous conditions which could result in an


                                                                                           Page 3 of 5
          Case 4:22-cv-00051-CDL Document 1-2 Filed 03/03/22 Page 9 of 24




injury.

                                                   18.

          As a foreseeable and proximate result of the defendant Wal-mart Stores East, LP's

breach, the Plaintiff suffered serious injuries to Plaintiff's body as pled in this Complaint for

Damages.

                                                   19.

          As a foreseeable and proximate result of Plaintiff's injuries, the Plaintiff incurred

damages as pled in this Complaint for Damages.

                                                   20.

          Plaintiff has a cause of action against defendant Wal-mart Stores East, LP for personal

injuries arising from defendant's premises liability.

                                                   21.

          Plaintiff is entitled to recover from the defendant Wal-mart Stores East, LP for damages

as pled in this Complaint for Damages.           WHEREFORE, the Plaintiff prays that:

          a.     Summons be issued as to the Defendant(s);
          b.     that the Defendant(s) be called to answer this Complaint for Damages;
          c.     that a trial be held on all issues so triable;
          d.     that a Judgment be entered against the Defendant for all the Plaintiff's specific
                 damages including past and future medical expenses and past and future lost
                 wages, if applicable;
          e.     that said Judgment include an award of attorneys' fees and costs for the
                 Defendant(s)' bad faith, stubborn litigiousness, and causing the Plaintiff
                 unnecessary time and expense pursuant to 0.C.G.A. § 13-6-11; see: Bo Phillips
                 Co. v. R.L. King Properties, LLC, 336 Ga. App. 705 (2016);
          f.     that said Judgment include a sum to compensate the Plaintiff for general damages
                 in an amount to be determined by the enlightened conscience of a fair and
                 impartial jury; and,
          g.     such further relief as this Court determines is adequate and just.

          This25 day of January 2022.

                                                                                             Page 4 of 5
     Case 4:22-cv-00051-CDL Document 1-2 Filed 03/03/22 Page 10 of 24




                                                        Is! David T. Dorer
                                                        David T. Dorer
                                                        Attorney for the Plaintiff
                                                        State Bar No. 934408

DOZIER LAW FIRM, LLC
487 Cherry Street
P.O. Box 13
Macon, Georgia 31202
(478) 742-8441
dorerIawteam@dozierlaw.com




    PLEASE HAVE THE SHERIFF OF FORSYTH COUNTY SERVE THE DEFENDANT,
          WAL-MART STORES EAST, LP C/O ITS REGISTERED AGENT AT:

                                 Wal-mart Stores East, LP
                               do The Corporation Company
                             106 Colony Park Drive, Ste. 800-B
                                Cumming, GA 30040-2794




                                                                                     Page 5 of 5
      Case 4:22-cv-00051-CDL Document 1-2 Filed 03/03/22 Page 11 of 24
                                                                                                     EFILED IN OFFICE
                      STATE COURT OF MUSCOGEE COUNTY                                             CLERK OF STATE COURT
                                                                                               MUSCOGEE COUNTY, GEORGIA
                              STATE OF GEORGIA
                                                                                              SC2022CV000080
                                                                                                 JAN 25, 2022 12:39 PM


                                                                                                              Da;tdeW2rIE. Cleric
                                                                                                           Muscogee County. Georgia




                            CIVIL ACTION NUMBER SC2022CV000080
         Freeman, Edward

         PLAINTIFF
                                                    VS.
         Wal-Mart Stores East, LP

...    ---- -DEFENDANT                                                       ---




         TO: WAL-MART STORES EAST, LP

         You are hereby summoned and required to file with the Clerk of said court and serve upon the
         Plaintiffs attorney, whose name and address is:

                                    David Dorer
                                    Dozier Law Firm, LLC
                                    327 Third Street
                                    PO Box 13
                                    Macon, Georgia 31201-0013

         an answer to the complaint which is herewith served upon you, within 30 days after service of
         this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
         default will be taken against you for the relief demanded in the complaint.

         This 25th day of January, 2022.
                                                          Clerk of State Court




                                                                            Da !elle F. Forte, Clerk
                                                                        Muscogee County, Georgia




                                                                                             Page 1 of 1
      Case 4:22-cv-00051-CDL Document 1-2 Filed 03/03/22 Page 12 of 24

                                                                                           EFILED IN OFFICE
                                                                                        CLERK OF STATE COURT
                                                                                      MUSCOGEE COUNTY, GEORGIA
                                                                                     SC2022CV000080
                     IN THE STATE COURT OF MUSCOGEE COUNTY
                                                                                       JAN 25, 2022 12:39 PM
                                 STATE OF GEORGIA

EDWARD FREEMAN,                                                                                       Oa ielle F. Forte. Cled,
                                                                                                  Muscogee County. Georgia



       Plaintiff,

VS.
                                                     CIVIL ACTION NO:
WAL-MART STORES EAST, LP,

       Defendants.

                                    NOTICE OF LAWSUIT

       TO: Wal-mart Stores East, LP

       I am notifying you in writing, pursuant to my requirements under 0.C.G.A. § 9-11-

4(d)(3)(A), .that a lawsuit in the above-captioned court has been commenced against you. A copy

of the complaint in the above-captioned case is attached to this notice, as is required by 0.C.G.A.

§ 9-11-4(d)(3)(C). This notice has been sent via certified mail with return receipt requested so as

to be the most reliable means of ensuring delivery, above and beyond the requirements of

0.C.G.A. § 9-11-4(d)(3)(B).

       This is not a formal summons or notification from the court, but rather my request

pursuant to Code Section 9-11-4 of the Official Code of Georgia Annotated that you sign and

return the enclosed Acknowledgment of Service, Waiver of Issuance of a Summons, Waiver of

Defense of Insufficiency of Service of Process, and Waiver of any Further Service in order to

save the cost of serving you with a judicial summons and an additional copy of the complaint.

       Your duty to avoid the unnecessary cost of service under 0.C.G.A. § 9-11-4(d)(3) will be

properly performed if I and the Court receive a signed copy of the waiver within 30 days after the

date designated below as the date on which this notice is received. I enclose a stamped and

                                                                                         Page 1of 4
       Case 4:22-cv-00051-CDL Document 1-2 Filed 03/03/22 Page 13 of 24




addressed envelope for your use. An extra copy of the waiver is also attached for your records.

 YOU ARE ENTITLED TO CONSULT WITH YOUR ATTORNEY REGARDING ULIS
                            MATTER.

        If you comply with this request and file with the above-captioned Court and return a copy

to me of the signed Acknowledgment of Service, Waiver of the Issuance of a Summons, Waiver

of Defenses of Insufficiency of Service of Process, and Waiver of any Further Service, the

Waiver will be filed with the court and no summons will be served on you. The action will then

proceed as if you had been served on the date the waiver is filed, except that you will not be

obligated to answer the complaint before sixty (60) days from the date you execute the enclosed

Acknowledgment of Service, Waiver of the Issuance of a Summons, Waiver of Defenses of

Insufficiency of Service of Process, and Waiver of any Further Service.

        If you do not return the signed waiver within the time indicated, I will take appropriate

steps to effect formal service in a manner authorized by the Georgia Rules of Civil Procedure and

will then, to the extent authorized by those Rules, ask the court to require you to pay the full cost

of service of summons, which is set forth on the Notice of Duty to Avoid Unnecessary Costs of

Service of Summons enclosed herein.

        Subsection (d) of Code Section 9-11-4 of the Official Code of Georgia Annotated

requires certain parties to cooperate in saving unnecessary costs of service of the summons and

the pleading. A defendant located in the United States who, after being notified of an action and

asked by a plaintiff located in the United States to waive service of a summons, falls to do so will

be required to bear the cost of such service unless good cause be shown for such defendant's

failure to sign and return the waiver.




                                                                                           Page 2 of 4
       Case 4:22-cv-00051-CDL Document 1-2 Filed 03/03/22 Page 14 of 24




             DUTY TO AVOID UNNECESSARY EXPENSES IN LITIGATION

        It is not good cause for a failure to waive service that a party believes that the complaint

is unfounded, or that the action has been brought in an improper place or in a court that lacks

jurisdiction over the subject matter of the action or over its person or property. A party who

waives service of the summons retains all defenses and objections (except any relating to the

summons or to the service of the summons), and may later object to the jurisdiction of the court

or to the place where the action has been brought.

        A defendant who waives service must, within the time specified on the waiver form,

serve on the plaintiffs attorney (or unrepresented plaintiff) a response to the complaint and also

must file a signed copy of the response with the court. If the answer is not served within this

time, a default judgment may be taken against that defendant. By waiving service, a defendant is

allowed more time to answer than if the summons had been actually served when the request for

waiver of service was received.

       This 25 day of January 2022.
                                                              /s/ David T. Dorer
                                                              David T. Dorer
                                                              Attorney for the Plaintiff
                                                              State Bar No. 934408

DOZIER LAW FIRM, LLC
327 Third Street
P.O. Box 13
Macon, Georgia 31202
(478) 742-8441
dorer@dozierlaw.com




                                                                                           Page 3 of 4
      Case 4:22-cv-00051-CDL Document 1-2 Filed 03/03/22 Page 15 of 24




                             CERTIFICATE OF SERVICE

       I certify that I have served on the following persons, by certified mail and/or other

reliable means, a copy of this notice, two copies of a proposed form for acknowledging

and waiving service of process, a prepaid, self-addressed envelope, a copy of the

Complaint, Summons, 5.2(2) certificate of service of discovery, original discovery

requests, and all other filed notices, motions, orders, or pleadings in the above-captioned

case to the following:


                     Wal-Mart Stores East, LP
                     C/o The Corporation Company
                     106 Colony Park Dr, Ste. 800-B
                     Cumming, GA 30040-2794


       This 25 day of January 2022.
                                                         /s/ David T. Dorer
                                                         David T. Dorer
                                                         Attorney for the Plaintiff
                                                         State Bar No. 934408

DOZIER LAW FIRM, LLC
487 Cherry Street
P.O. Box 13
Macon, Georgia 31202
(478) 742-8441
dorerlawteam@dozierlaw.com




                                                                                      Page 4 of 4
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                                                                                       e EF1LED IN OFFICE
                                                                                      CLERK OF STATE COURT
                                                                                    MUSCOGEE COUNTY, GEORGIA
                                                                                   SC2022CV000080
                      IN THE STATE COURT OF MUSCOGEE COUNTY
                                                                                      JAN 25, 2022 12:39 PM
                                  STATE OF GEORGIA

EDWARD FREEMAN,
                                                                                        2/4.-41       Da elle F. Forte. Clerk
                                                                                                  Muscogee County. Georgia



       Plaintiff,

VS.
                                                      CIVIL ACTION NO:
WAL-MART STORES EAST, LP,

      - Defendants.

      MOTION TO APPOINT A SPECIAL AGENT FOR SERVICE OF PROCESS

       COMES NOW, Plaintiff in the above-styled action and files this Motion to Appoint a

Special Agent for Service of Process and shows this Honorable Court as follows:

                                                 1.

       Plaintiff filed the instant lawsuit on January 25, 2022.

                                                 2.

       Defendant has a "duty to avoid unnecessary costs of serving the summons" by

acknowledging and waiving service of process pursuant to 0.C.G.A. § 9-11-4(d). Plaintiff is

affording the Defendant an opportunity to comply with this duty. See: Notice of Lawsuit, filed

contemporaneously hereto.

       However, in the event that the Defendant is non-compliant, Plaintiff has a duty to serve

the Defendant within five (5) days of the person making such service receiving a copy of the

Complaint and Summons. See: 0.C.G.A. § 9-11-4(c). As such, the Plaintiff wishes to be

prepared, and moves to appoint Plaintiffs process server to be ready to effectuate any service

that may become necessary in this case.



                                                                                        Page lof 2
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                                                 3.

        Plaintiff's process server meets the qualifications of being a process server in the State of

Georgia. Exh. A.

                                                 4.

        Plaintiff prays that this Honorable Court appoint Raymond Cross for purposes of service

of process in this case.

                 of January, 2022
        This 25 day,


                                                              /s/ David T. Dorer
                                                              David T. Dorer '
                                                              Attorney for the Plaintiff
                                                              State Bar No. 934408

DOZIER LAW FIRM, LLC
487 Cherry Street
                                                                     •
P.O. Box 13
Macon, Georgia 31202
(478) 742-8441
dorerlawteam@dozierlaw.com




                                                                                           Page 2 of 2
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               EXHIBIT A
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                              STATE COURT OF BIBB COUNTY
                                   STATE OF GEORGIA
                              AFFIDAVIT OF RAYMOND CROSS


                                                1
         My name is Raymond Cross, I have reached the age of legal majority, am of sound mind,
have not taken any mind altering substances which would impair my testimony or would
interfere with my full and complete understanding of the oath I have sworn to when providing
this affidavit of my testimony.

                                                 2.
        I am a citizen of the United States and wholly disinterested from the parties to this action.

                                                3,
       I am a licensed investigator in good standing with the State of Georgia and an employee
of Cross and Mullins Investigations since 2014.

                                               4.
       I have been a court appointed process server in numerous Georgia counties including
Bibb, Houston, Jones, Peach, Crawford and the Ocmulgee Judicial Circuit. I am a year-to-year
appointed process served in Bibb Superior Court.

This 1144k day of 0111/4Ctitt) , 20.
                                                                                 611.44.571_11"--,)




                              ottitirritob.           Raymor4Cross
Sworn to and subscribed be,t, .41
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                    IN THE STATE COURT OF MUSCOGEE COUNTY
                                STATE OF GEORGIA

EDWARD FREEMAN,

       Plaintiff,

VS.
                                                      CIVIL ACTION NO:
WAL-MART STORES EAST, LP,

 - -Defendants:- -

        ORDER APPOINTING SPECIAL AGENT FOR SERVICE OF PROCESS

       WHERAS, the Plaintiff has moved this Court to appoint Raymond Cross as a special

agent of service of process; and,

       WHEREAS, the Defendant(s) has/have not yet been served in the above-captioned case;

and,

       WHEREAS, Raymond Cross meets the qualifications of a special agent of service of

process under Georgia Law; it is so ORDERED.      •

       Raymond Cross is hereby appointed as a special agent for service of process in the

above-captioned case.

       So ordered this       day of        20    .


                                            Judge, State Court of Muscogee County

Order Prepared By:
/s/ David Thomas Dorer
David Thomas Dorer
DOZIER LAW FIRM, LLC
Georgia Bar No. 934408
Attorney for the Plaintiff



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                     IN THE STATE COURT OF MUSCOGEE COUNTY
                                 STATE OF GEORGIA

EDWARD FREEMAN,

        Plaintiff,

VS.
                                                       CIVIL ACTION NO:
WAL-MART STORES EAST, LP,

        Defendants..

   ACKNOWLEDGMENT OF SERVICE, WAIVER OF ISSUANCE OF SUMMONS,
   WAIVER OF DEFENSES OF INSUFFICIENCY OF SERVICE OF PROCESS, AND
                    WAIVER OF FURTHER SERVICE

        COMES NOW, Wal-mart Stores East, LP, the Defendant(s) in the above-captioned

action, and files this Acknowledgment of Service, Waiver of Issuance of Summons, Waiver of

Defenses of Insufficiency of Service of Process, and Waiver of Further Service and Shows this

Honorable Court as follows:

                                                  1.

       Defendant(s) understand(s) that 0.C.G.A. § 9-11-4(d)(2) requires certain parties to

cooperate in saving unnecessary costs of service of the complaint in the above-captioried case.'

Defendant(s) acknowledge being located in the United States having been duly notified of an

action and asked to waiver service of summons, and therefore acknowledge that Defendant(s)

would be responsible for the costs of service in the event of a failure to acknowledge and waiver


        'A defendant located in the United States who, after being notified of an action and asked
by a plaintiff located in the United States to waive service of summons, fails to do so will be
required to bear the cost of such service unless good cause be shown for its failure to sign and
return the waiver. It is not good cause for a failure to waive service that a party believes that the
complaint is unfounded, or that the action has been brought in an improper place or in a court
that lacks jurisdiction over the subject matter of the action or over its person or property.
                                                                                          Page 1 of 4
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service of process.

                                                  2.

       Defendant(s) hereby acknowledge(s) that the Plaintiff has provided Defendant(s) with an

opportunity to return file this instrument within thirty (30) days of receipt. Therefore, the

Plaintiff's request is proper under 0.C.G.A. § 9-11-4(d)(3)(F).

                                                  3.

       Defendant(s) in the above captioned case attest(s) to being in possession of a service copy

of the Complaint in the above-captioned case. As such, Defendant(s) hereby acknowledge(s)

service of the above-captioned Complaint. Defendant(s) also acknowledge(s) that the Plaintiff

has agreed to permit Defendant(s) sixty (60) days to Answer the Complaint in the above-

captioned case from the date of the execution of this waiver.

                                                  4.

       In addition to acknowledging service, the undersigned Defendant(s) hereby waive the

issuance of any summons in the above-captioned case!

                                                  5.

       Further, the undersigned Defendant(s) hereby waive the defense of insufficiency of

service of process.'


         Defendant(s) attest to having received a copy of the complaint in the above-captioned
action, two copies of this instrument, and a means by which I can return the signed waiver to you
without cost to me. Defendant(s)understand the right to consult with an attorney regarding the
consequences of signing this waiver. With this knowledge, Defendant(s) opt to execute this
instrument.

         Defendant(s) recognize that any failure to waive service of process can leave
Defendant(s) liable for attorney's fees and costs associated with perfecting service, and that the
waiver of service of process does not waive the affirmative defenses of improper venue or lack of
                                                                                           Page 2 of 4
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                                                   6.

         Further, the undersigned Defendant(s) hereby waive any further service in order to perfect

 service of process.4

                                                   7.

         Defendant(s)understand that, by acknowledging service, waiving the issuance of a

 summons, waiving insufficiency of service of process, and waiving further service, Defendant(s)

 still must, within sixty (60) days file a response to the complaint and must also file a signed copy

 of the same response with the court. lithe answer or motion is not served within this time, a

 default judgment may be taken against that defendant. By waiving service, a defendant is allowed

 more time to answer than if the summons had been actually served when the request for waiver

 of service was received.

                                                   8.

         Defendant(s) agree(s) to file this instrument with the Court.

         WHEREFORE, the undersigned hereby Acknowledges Service, Waives the Issuance of a

 Summons, Waives Defenses of Insufficiency of Service of Process, and Waives any Future

 Service in order to Perfect Service.




 personal jurisdiction. Defendant(s) will retain all defenses or objections to the lawsuit or to the
 jurisdiction or venue of the court except for objections based on a defect in the summons or in
 the service of the summons.

          Defendant(s) agree(s) to save the cost of service of a summons and an additional copy of
  the complaint in this lawsuit by not requiring that Defendant(s) be served with judicial process in
. the manner provided by the Georgia Rules of Civil Procedure.
                                                                                            Page 3 of 4
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This      day of                            , 20    .


                                                               Wal-mart Stores East, LP


                                 CERTIFICATE OF SERVICE

       I hereby certify that I have served on all parties to this litigation a copy of the foregoing

pleading by depositing the same in the U.S. Mail with proper postage affixed and addressed to:

                               David Thomas Dorer
                               Dozier Law Firm, LLC
                               487 Cherry Street
                               P.O. Box 13
                               Macon, Georgia 31202-0013
                               dorerlawteam@dozierlaw.com


Respectfully submitted this       day of           20_.


                                                               Wal-mart Stores East, LP

Prepared By:
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Macon, Georgia 31202
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